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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

SARAH GARCIA,                                 )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       Case No. 1:21-cv-539 (AJT/TCB)
                                              )
ANTHONY R. DIDONATO,                          )
                                              )
                       Defendant.             )
                                              )

                                              ORDER

       On August 11, 2021, the Court entered an Order directing Plaintiff to show cause, if any

there be, why this case should not be dismissed pursuant to Federal Rule of Civil Procedure 4(m)

based on Plaintiff’s failure to effect service within ninety days of the filing of the Complaint.

[Doc. No. 7]. On August 18, 2021, Plaintiff filed her response to the Order, detailing her

unsuccessful attempts to serve Defendant and requesting an additional sixty (60) days within

which to serve Defendant. Upon consideration of the Plaintiff’s response, it is hereby

       ORDERED that the Court’s Show Cause Order dated August 11, 2021 [Doc. No. 7] be,

and the same hereby is, VACATED; and it is further

       ORDERED that Plaintiff shall have an additional sixty (60) days from the date of this

Order, until October 18, 2021, within which to serve Defendant.

       The Clerk is directed to send a copy of this Order to all counsel of record.




Alexandria, Virginia
August 18, 2021
